 Case: 1:23-cv-01501 Document #: 87 Filed: 09/11/23 Page 1 of 1 PageID #:1679

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Spin Master Ltd., et al.
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:23−cv−01501
                                                                      Honorable John F.
                                                                      Kness
The Partnerships and Unincorporated Associations
Identified on Schedule A, et al.
                                                         Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 11, 2023:


       MINUTE entry before the Honorable John F. Kness: Motion by counsel to
withdraw as attorney [84] is granted. Attorney Christopher Paul Keleher is withdrawn as
counsel of record. Any appearance by substitute counsel on behalf of Defendant
EDsportshouse must be filed on or before 9/18/2023. Mailed notice(ef, )




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